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                       UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                        Bankruptcy Judge Thomas B. McNamara

  In re:

  CHRISTOPHER PATRICK BOYD,                  Bankruptcy Case No. 22-12455 TBM
                                             Chapter 13
  Debtor.


  HEMP RECOVERY COMPANY, LLC,

  Plaintiff,
                                             Adv. Pro. No. 22-1258 TBM
  v.

  CHRISTOPHER PATRICK BOYD,

  Defendant.
______________________________________________________________________

                              JUDGMENT
______________________________________________________________________

      Pursuant to and in accordance with the “Order on Plaintiff’s Motion for Summary
Judgment” (Docket No. 28, the “Order”) entered by the Honorable Thomas B. McNamara,
Bankruptcy Judge, on the docket in the above-entitled matter on even date herewith, it is
hereby

        ORDERED that the Motion for Summary Judgment (Docket No. 23) filed by
Plaintiff, Hemp Recovery Company, LLC (the “Plaintiff”) is GRANTED;

      FURTHER ORDERED that this judgment is entered in favor of the Plaintiff and
against the Debtor and Defendant, Christopher Patrick Boyd; and

       FURTHER ADJUDGED and DECLARED that the Judgment entered by the District
Court, Denver County, Colorado in the case of Hemp Recovery Company, LLC v. Boyd,
Case No. 2019 CV 30498 on February 11, 2020, and affirmed by the Colorado Court of
Appeals on September 9, 2021, in Case No. 2020 CA 451 is non-dischargeable pursuant
to 11 U.S.C. § 523(a)(2)(A).

Dated this 10th day of July, 2023.

APPROVED AS TO FORM:                           FOR THE COURT:


Thomas B. McNamara                             Deputy Clerk
United States Bankruptcy Judge
